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Bryan J. Pattison (8766)
Elijah L. Milne (11171)
DENTONS DURHAM J ONES & PINEGAR P.C.
192 East 200 North, Third Floor
St. George, Utah 84770
Telephone: (435) 674-0400
Facsimile: (435) 628-1610
bryan.pattison@dentons.com
eli.milne@dentons.com
Attorneys for Defendants

                          IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 KENNETH JEPSON; JASON JEPSON;
 BRIAN JEPSON,

         Plaintiffs,                                         NOTICE OF REMOVAL

 v.
                                                            Case No. 2:20-cv-00831-DBB
 SCOTT MAXFIELD; and CANDYCO LLC
                                                              Judge David B. Barlow
 d/b/a MRS. CALLS,

         Defendants.


        Defendants Scott Maxfield and CandyCo LLC, through their undersigned counsel, Bryan

Pattison and Elijah Milne, pursuant to 28 U.S.C. §§ 1331, 1441(c), and 1446(a) and (b), hereby

remove this action from the Fourth Judicial District Court for Wasatch County, State of Utah, to

the United States District Court for the District of Utah, Central Division.

        In support of this removal, Defendants state as follows:

        1.      Plaintiffs filed this action in the Fourth District Court for Wasatch County on

September 11, 2020.



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        2.     The complaint contains a cause of action under the Fair Labor Standards Act of

1938, 29 U.S.C. § 201 et. seq., and claims a violation of 29 U.S.C. §§ 207(a) and 211(c). This

Court has original jurisdiction over these claims under 28 U.S.C. § 1331. Therefore, this case

may be removed to this Court pursuant to 28 U.S.C. §§ 1441(c) and 1446(a) and (b).

        3.     Plaintiffs did not serve Defendant Maxfield until November 1, 2020.

        4.     This Notice of Removal is therefore timely filed within the 30-day period

following Defendants’ receipt of notice of eligibility for removal.

        5.     Pursuant to 28 U.S.C. § 1446, copies of all process, pleadings, and orders served

upon the above-named Defendants, as of the date of this Notice, have been attached.

        6.     A copy of this Notice of Removal is being served upon Plaintiffs, through their

attorneys of record, Bruce M. Franson, and upon the clerk of the Fourth District Court for

Wasatch County.

        7.     All Defendants join in this removal.

        DATED: November 23, 2020.

                                              DENTONS DURHAM J ONES & PINEGAR P.C.


                                              /s/ Eli Milne
                                              BRYAN J. P ATTISON
                                              ELIJAH J. MILNE
                                              Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 23, 2020, I served a signed copy of the foregoing

Notice of Removal on the following through the online CM/ECF system:

        Bruce M. Franson
        FLICKINGER SUTTERFIELD & BOULTON
        9289 South Redwood Road, Ste. A
        West Jordan, UT 84088
        bruce@fsutah.com
        Attorney for Plaintiff



                                             /s/ Eli Milne




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